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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80116-CR-CANNON

  UNITED STATES OF AMERICA,
      Plaintiff,

          vs.

  RYAN WESLEY ROUTH,
      Defendant.
                                     /

        DEFENDANT RYAN ROUTH’S REPLY IN SUPPORT OF HIS MOTION TO
             RECUSE THE HONORABLE JUDGE AILEEN M. CANNON

          In a filing less than two pages long, the government opposes Mr. Routh’s

  motion to recuse this Court. (DE 52). However, the government’s filing does not

  meaningfully respond to the motion, let alone provide any basis for this Court to deny

  it.

          1.    Curiously, the government’s response begins by stating that “[t]his

  Court’s discretion to recuse from this matter is subject to review only for abuse of

  discretion.” This opening sentence is irrelevant at best and misleading at worst.

          It is irrelevant because “abuse of discretion” is a standard of review that an

  appellate court would use in the event this Court denies Mr. Routh’s motion. But it

  is not the standard that this Court must use to evaluate the motion. Rather, the

  controlling standards are set out in Mr. Routh’s motion. (DE 48:2–5). The

  government’s response does not mention any of them. And because those legal

  standards were all taken verbatim from binding precedents of the Supreme Court




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  and the Eleventh Circuit, the government does not dispute their accuracy—at least

  not directly.

        The government’s opening (and also final) sentence, however, misleadingly

  suggests that recusal is a purely “discretionary” matter. To the contrary, the federal

  recusal statute speaks in mandatory terms: “[a]ny . . . judge . . . of the United States

  shall disqualify [herself] in any proceeding in which [her] impartiality might

  reasonably be questioned.” 28 U.S.C. § 455(a) (emphasis added). In accordance with

  the statutory text, binding precedent establishes that, notwithstanding the abuse of

  discretion standard of appellate review, § 455(a) “requires a judge to exercise [her]

  discretion in favor of disqualification if [she] has any question about the propriety of

  [her] sitting in a particular case.” Potashnick v. Port City Const. Co., 609 F.2d 1101,

  1111–12 (5th Cir. 1980) (emphasis added). Indeed, contrary to the government’s

  suggestion, § 455(a) did “away with the old ‘duty to sit’ doctrine and requires judges

  to resolve any doubts they may have in favor of disqualification.” United States v.

  Kelly, 888 F.2d 732, 744 (11th Cir. 1989). The government ignores this binding

  precedent.

        2.        The government asserts that Mr. Routh cites no authority mandating

  recusal under these circumstances. But this assertion fails both legally and factually.

        Legally, the government fails to acknowledge that “[r]ecusal decisions under

  § 455(a) are extremely fact driven and must be judged on their unique facts and

  circumstances more than by comparison to situations considered in prior

  jurisprudence.” In re Moody, 755 F.3d 891, 895 (11th Cir. 2014) (quotation omitted).


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  Despite citing the Moody decision, the government ignores this key proposition, which

  establishes that Mr. Routh need not identify a case that is factually analogous to this

  one.

         After all, the facts here are unprecedented. To briefly recap: a former

  President, Mr. Trump, is the alleged victim in this criminal case; Mr. Trump

  appointed Your Honor to the federal bench; this Court previously presided over cases

  where Mr. Trump was a party and issued some rulings that were favorable to him,

  including one dismissing a criminal case against him; while on the campaign trail,

  Mr. Trump has repeatedly and publicly praised this Court and its rulings; Mr. Trump

  would have authority to appoint Your Honor to a position of power were he to become

  President again; and given the low odds of this Court being assigned three cases

  involving Mr. Trump, some have questioned whether the cases have been assigned at

  random.

         Despite vaguely referring to the “circumstances” of this case, the government

  does not actually identify them, let alone acknowledge how unique they are. The

  government likewise asserts, in a conclusory manner, that the motion does not

  present “proper grounds” for recusal. But, again, the government does not identify

  what those grounds are. Rather than directly address them, the government simply

  cites three cases. Contrary to the government’s suggestion, these cases do not defeat

  the motion.

         First, the government cites an out-of-circuit case for the proposition that a

  judge should not recuse “based simply on the identity of the President who appointed”


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  her. (DE 52:1) (quoting Straw v. United States, 4 F.4th 1358, 1362 (Fed. Cir. 2021)

  (emphasis added)). But Mr. Routh’s motion pre-emptively acknowledged as much,

  stating: “By itself,” the fact that Mr. Trump appointed Your Honor to the bench “is by

  no means disqualifying.” (DE 48:5). Rather, Mr. Routh merely argued that this fact

  must be considered as one factor along with the other grounds for recusal. This is not

  the ordinary situation where a Judge is evaluating an official policy adopted by the

  President who nominated her. Rather, Mr. Trump is the alleged victim of an

  assassination attempt; he thus has a personal stake in the outcome. And in the mind

  of the public, that Mr. Trump appointed Your Honor may add to the appearance of

  partiality given that he has publicly praised Your Honor for rulings in his earlier

  case; and were Mr. Trump to become President again, he would have authority to

  elevate Your Honor to a federal appellate court (including the U.S. Supreme Court)

  or to high-ranking positions in the Executive Branch. See, e.g., Katherine Faulders,

  et al., Judge Who Tossed Trump’s Classified Docs Case on List of Proposed

  Candidates for Attorney General, ABC News (Oct. 22, 2024); Jess Bravin & C. Ryan

  Barber, Trump Loyalists Push for a Combative Slate of New Judges, Wall St. Journal

  (Oct. 14, 2024).

        Second, the government cites the proposition that, “[o]rdinarily, a judge’s

  ruling in the same or a related case may not serve as the basis for a recusal motion.”

  (DE 52:1) (quotation omitted). To be sure, the general rule is that “[a]dverse rulings

  alone do not provide a party with a basis for holding that the court’s impartiality is

  in doubt.” United States v. Berger, 375 F.3d 1223, 1228 (11th Cir. 2004 (quotation


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  omitted; emphasis added). But there is an “exception to this general rule.” United

  States v. Chandler, 996 F.2d 1073, 1104 (11th Cir. 1993). And, more importantly here,

  nothing precludes courts from considering judicial rulings in combination with other

  factors. Contrary to the government’s suggestion, Mr. Routh’s motion did not argue

  that recusal is required based solely on this Court’s earlier rulings in Mr. Trump’s

  cases. Rather, the motion referred to the Court’s rulings in Mr. Trump’s cases

  primarily because Mr. Trump benefitted from those rulings and then publicly praised

  them (and this Court) on the campaign trail. At no point does the government deny

  these facts. Indeed, the government inexplicably ignores this aspect of the motion.

        Third, the government cites the general proposition that an appearance of

  partiality must be “supported by facts,” not by “unsupported, irrational, or highly

  tenuous speculation.” (DE 52:1–2) (quotation omitted). Mr. Routh agrees. That is why

  his motion is based not on speculation but facts: Mr. Trump appointed Your Honor to

  the bench; Mr. Trump has repeatedly and publicly praised the Court’s favorable

  rulings; he would have authority to promote Your Honor were he to become President;

  and the odds of this Court being randomly assigned three cases involving Mr. Trump

  were low. Again, the government does not dispute any of these underlying facts.

                                     *      *     *

        In short, the government does not accurately set forth the controlling legal

  standards governing Mr. Routh’s motion. It does not dispute any of the objective (and

  unique) facts upon which his motion is based. And its conclusory response, consisting




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  of three inapt citations, otherwise fails to explain why the undisputed facts of this

  case might reasonably create an appearance of partiality in the mind of the public.

        3.     Finally, there is one new, additional matter that Mr. Routh must raise.

        After Mr. Routh filed his motion, the government advised defense counsel for

  the first time that one member of the prosecution’s team—Christopher Browne of the

  Justice Department’s National Security Section in Miami—attended high school with

  Your Honor, and Your Honor attended Mr. Browne’s wedding nine years ago. It is

  unclear why the government believed that this information was important enough to

  share with defense counsel but not important enough to include in its response. And

  it is unclear why, despite hundreds of able prosecutors in this District and around

  the country, the government elected to staff its team in this high-profile case with a

  prosecutor who enjoys a longstanding, personal relationship with the presiding judge.

  In the mind of the public, this fact could further add to the appearance of partiality.

                                     CONCLUSION

        Mr. Routh respectfully requests that the Court recuse from this case.

  Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        I hereby certify that on October 23, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.


                                         s/ Kristy Militello
                                         Kristy Militello




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